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        Our File No.: 25876
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        (856)866-0100
        Attorney for Wells Fargo Equipment Financing, Inc.
        JM5630___________________________
                                                             UNITED STATES
                                                             BANKRUPTCY COURT FOR
                                                             THE DISTRICT OF NEW
                                                             JERSEY
        IN RE:
          SHAPES/ARCH HOLDINGS L.L.C.
                                                             CHAPTER 11
                                                             CASE NO: 08-14631(GMB)
                                                             HEARING DATE:

                                                             NOTICE OF MOTION OF
                                                             WELLS FARGO
                                                             EQUIPMENT FINANCING,
                                                             INC. FOR RELIEF FROM
                                                             THE AUTOMATIC STAY
                      To:
                         Shapes/Arch Holdings L.L.C.
                         9000 River Road
                         Delair, NJ 08110
                         Debtors

                         Jerrold N. Poslusny, Jr., Esq.
                         Liberty View, Suite 300
                         457 Haddonfield Road
                         Cherry Hill, NJ 08002
                         Attorney for the debtors

                         Office of the U.S. Trustee
                         One Newark Center
                         Suite 2100
                         Newark, NJ 07102
                         Trustee

                         Michael D. Sirota, Esq.
                         25 Main Street
                         Hackensack, NJ 07601
                         Attorney to Creditor Committee
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                 John R. Morton, Jr., Esquire, attorney for Wells Fargo Equipment Financing, Inc.,

         has filed papers with the Court for relief from the automatic stay to permit Wells Fargo

         Equipment Financing, Inc. to repossess and sell the motor vehicle(s) described in the

         attached pleadings. Your rights may be affected. You should read these papers

         carefully and discuss them with your attorney, if you have one in this bankruptcy

         case. If you do not have an attorney, you may wish to consult with one. If you do

         not want the Court to grant the relief sought, or if you want the Court to consider your

         views on the motion, then no later than seven (7) days before the hearing date, you or

         your attorney must:

                 File with the Court a written request for a hearing (or, if the Court requires a

         written response, an answer, explaining your position) at:

                 United States Bankruptcy Court
                 1 John F. Gerry Plaza
                 4th. & Cooper Streets
                 Camden, NJ 08101


                 If you mail your (request) (response) to the Court for filing, you must mail it early

         enough so the Court will receive it on or before the date stated above.

                 You must also mail a copy to:

                 John R. Morton, Jr., Esquire
                 110 Marter Avenue, Suite 301
                 Moorestown, NJ 08057
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                 TAKE FURTHER NOTICE that the facts movant relies upon, as set forth on the

         accompanying certification, and the basis for relief from the automatic stay, do not present

         complicated questions of fact or unique questions of law, it is hereby submitted that no

         brief is necessary in the Court’s consideration of the within Motion, and TAKE

         FURTHER NOTICE that oral argument is hereby not requested.




                 Attend the hearing scheduled to be held on                                at

         a.m. in Courtroom          , United States Bankruptcy Court, Mitchell Cohen Federal

         Court House, 1 John F. Gerry Plaza, 4th. & Cooper Streets, 4th. Floor, Camden, New

         Jersey 08102.

                 If you or your attorney do not take these steps, the Court may decide that you do

         not oppose the relief sought in the motion and may enter an order.



         Date:                                             /s/ John R. Morton, Jr., Esquire
                                                           John R. Morton, Jr., Esquire
                                                           Attorney for Wells Fargo Equipment
                                                           Financing, Inc.
